                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                 WESTERN DISTRICT OF MISSOURI
                                      WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                       Plaintiff,

             v.                                               Case No. 12-00291-18/20-CR-W-GAF

 RAHMON ALLEN, et al.,

                                       Defendants.

                           THE GOVERNMENT’S TRIAL MEMORANDUM

         The Government submits this Trial Memorandum to provide background and address

certain issues the Government anticipates may arise during trial.

   I.    INTRODUCTION 1

         Defendant Rahmon Allen is charged with a conspiring with Andre Taylor and others to

distribute marijuana. Mr. Allen was part of a large drug conspiracy.

         Beginning in at least 2010 through at least 2014, Andre Taylor was the head of a major

cocaine and marijuana distribution organization in the Kansas City metropolitan area. A

Mexico-based cartel supplied narcotics to his drug trafficking organization. Taylor’s relatives

and others assisted him in recruiting buyers and arranging sales. His base of operation was in the

2300 block of Hardesty in Kansas City, Missouri, where his family owned three houses next

door to each other. Confidential informants participated in numerous controlled buys of

narcotics. Many of those buys took place in, around, or outside of the three Taylor houses.

         During the investigation, agents were authorized by the Court to intercept wire and

electronic communications on Andre Taylor=s and others’ telephones. Many communications


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             The information set forth herein are based on evidence that the Government believes will be admitted at
trial.
refer to drug transactions. In intercepted telephone conversations, Taylor boasted of spending

millions you buy drugs to sell within the Kansas City area.

        Twenty defendants were indicted in the Second Superseding Indictment. Fifteen pled

guilty. 2 Three were tried before the Honorable Judge Fenner in September 2014; two of the three

were found guilty. 3 Their convictions were affirmed. See United States v. Taylor, 813 F.3d 1139

(8th Cir. 2016). Two took flight, including this defendant. Charlie Williams is still at large

(probably in Mexico).

 II.    FACTUAL BACKGROUND

        A court-authorized wiretap investigation of Andre Taylor=s three telephones revealed an

extensive drug dealing operation involving powder cocaine, high-grade marijuana, and even

some heroin. Investigators also identified Mr. Taylor=s local connection with a Mexico-based

supplier. In fact, Mr. Taylor’s intercepted calls show that he traveled to Mexico to buy drugs for

resale within the Kansas City area. The interceptions also reveal how Taylor=s relatives and

others assisted him with his drug trafficking.

        On September 27, 2012, search warrants were executed at the three homes owned by the

Taylor family at 23rd and Hardesty. Marijuana was seized from all three locations. In addition,

on November 30, 2012, defendant Ruben Machiche consented to the search of his truck and

trailer in Nebraska. More than 1,000 pounds of marijuana was recovered from the trailer.

According to Machiche, this marijuana was intended for delivery to Andre Taylor.

        Allen Sanchez was recruited by the Mexican suppliers to move from El Paso, Texas to

Kansas City to assist with narcotics distribution. Several times, Sanchez stored cocaine and


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          Harlan Taylor, Raymond Taylor, Darryl Taylor, Carl Taylor, Robert Taylor, Daniel Howard, Marlon
Minton, Tyrone Rock, Allen Sanchez, Rick Schoen, Ruben Machiche, Gregory Johnson, Bryant Willis, Kenneth
Vaughn Cooper, and William E. Brown.
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           Andre Taylor and Victor Vickers were convicted. Eric Union was acquitted.

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marijuana at his house for Andre Taylor until Taylor instructed him to deliver it to him. Sanchez

also stored large sums of cash for Taylor and assisted with getting cash to the Mexican suppliers.

       Robert Taylor was Andre Taylor’s partner for drug procurement and distribution. Agents

intercepted numerous calls between these two in which they talked about suppliers and plotted

their strategy to get cocaine. As explained above, Darryl Taylor and Robert Taylor traveled to

Mexico to meet with narcotics sources and facilitate Andre Taylor in obtaining drugs. Robert

Taylor assisted Andre Taylor in distributing cocaine to some of the other defendants and others.

       In November 2012, Nebraska FBI agents arrested Ruben Machiche, who had been

driving a truck with 1,000 pounds of marijuana. Machiche later admitted that the marijuana was

intended for redistribution in the Kansas City area. Machiche also admitted that he worked for a

“big organization” and had delivered marijuana to Kansas City to Andre Taylor seven or eight

times, and he had transported $500,000 to $700,000 in U.S. currency to Arizona for these drug

shipments.

       Different parties play different roles and operate at different levels in a conspiracy. In

this case, Mr. Allen conspired with others, including Charlie Williams, Alan Sanchez, and Ruben

Machiche to distribute marijuana. Government Trial Exhibit 168 (attached) is a chart showing

Mr. Allen’s role in the conspiracy. The Government anticipates that some of Mr. Allen’s co-

conspirators will testify as cooperators at trial, including Andrew Taylor, Sanchez, Machiche,

and Robert Taylor. Other witnesses include Terry Hutton and Daniel Carravelo.

       The Government will present evidence as to post-indictment events that show Mr.

Allen’s consciousness of guilt. After he was indicted in February 2014, he fled and was on the

loose for four years until he was captured in January 2018. He had a fake driver’s license and

credit card on him when captured. In addition, in July 2014, the Government began the process



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of administratively forfeiting Mr. Allen’s Rolls Royce, which he bought for more than $300,000

and was located in California. As required by law, Mr. Allen was provided notice in multiple

ways, including mailing and publication. Mr. Allen refused to accept the mailed notice and

made no effort to make a claim to a luxury car that he bought and was titled in his name. In fact,

his girlfriend simply turned over the Government without protest.

        Finally, the Government will present the testimony of Mr. Allen’s former associate and

friend, Terry Hutton. Mr. Hutton is expected to testify that: 4

        1.       He and Mr. Allen were involved in smuggling marijuana and a cell phone into an
                 Oklahoma prison while Mr. Hutton was imprisoned there from December 2015 to
                 September 2017; and

        2.       Very recently – on May 11, 2019 – Mr. Alan threatened Mr. Hutton that he would
                 kill Mr. Hutton’s sister for cooperating with the “feds.”

III.    LEGAL ISSUES

             a. Tools of the Trade – Drug Charges

        Defendant seeks to exclude photographs of guns and bullets that were seized when search

warrants were executed at 2310, 2314, and 2318 Hardesty Avenue in Kansas City, Missouri. The

Government objects. See Doc. #894, 909. At the pretrial conference on August 16, 2019, the

Honorable Judge Bough addressed various pretrial matters. The Government informed the Court

that it would file its objections post-conference; defendant indicated they would file a reply. See

Doc. #909, #912. Thus, the Court has not yet ruled on the admissibility of those photographs of

guns and weapons. See Doc. #911.

        Weapons are generally “tools of the trade” and admissible with respect to criminal drug

charges. See United States v. Espinoza, 684 F.3d 766, 779 (8th Cir. 2012) (citing United States v.


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          Out of an abundance of caution, the Government filed a notice that this evidence was “inextricably
intertwined” with the charged conduct; alternatively, it was admissible under Rule 404(b). The Honorable Judge
Bough held that this evidence was admissible. See Doc. #911.

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Caballero, 420 F.3d 819, 821 (8th Cir. 2005)). As in this case, the defendant in the Espinoza case

was not charged with weapons offenses. 5 The Eighth Circuit held, however, that “any risk that the

jury might have unfairly assumed that [defendant] illegally possessed the guns was adequately

mitigated by the district court’s cautionary instruction that ‘there [were] no charges against the

defendant involving anything related to firearms.’” Id.

             b. Witness Impeachment Issues

        Federal Rule of Evidence 608(b) governs evidence that goes to a witness’s character for

truthfulness or untruthfulness. It provides in pertinent part:

        Except for a criminal conviction under Rule 609, extrinsic evidence is not
        admissible to prove specific instances of a witness’s conduct in order to
        attack or support the witness’s character for truthfulness. But the court
        may, on cross-examination, allow them to be inquired into if they are
        probative of the character for truthfulness or untruthfulness of: (1) the
        witness; or (2) another witness whose character the witness being cross-
        examined has testified about.

        The purpose of the rule is to “avoid holding mini-trials on peripherally related or

irrelevant matters.” United States v. Martz, 964 F.2d 787, 789 (8th Cir. 1992).

        The Eighth Circuit has emphasized the rule’s plain language, to the effect that while a

party may inquire of a witness concerning matters which go to the witness’s character for

truthfulness, the examiner may not thereafter seek to impeach the witness’s answer with extrinsic

evidence, but must take the answer of the witness. See United States v. Swanson, 9 F.3d 1354,

1358 (8th Cir. 1993); United States v. Johnson, 968 F.2d 765, 766-767 (8th Cir. 1992); United

States v. Capozzi, 883 F.2d 608 (8th Cir. 1989).




        5   In Espinoza, the weapons were found in defendant’s home, which is not the case here. However, Mr.
Allen is linked to the homes where the weapons were found because he is charged with conspiring with others
connected to those homes.

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       Another evidentiary rule, Federal Rule of Evidence 613, governs witness’s prior

statements:

                        (a) Showing or Disclosing the Statement During
               Examination. When examining a witness about the witness’s
               prior statement, a party need not show it or disclose its contents to
               the witness. But the party must, on request, show it or disclose its
               contents to an adverse party’s attorney.

                        (b) Extrinsic Evidence of a Prior Inconsistent
               Statement. Extrinsic evidence of a witness’s prior inconsistent
               statement is admissible only if the witness is given an opportunity
               to explain or deny the statement and an adverse party is given an
               opportunity to examine the about it, or if justice so requires. . . .

       “Rule 613(b) addresses situations where a witness makes two irreconcilable statements,

one at trial and one previously.” United States v. Bolzer, 367 F.3d 1032, 1038 (8th Cir. 2004).

Regarding Rule 613(b), the Eighth Circuit also requires that the extrinsic evidence of a prior

inconsistent statement must be “material to the substantive issues of the case.” United States v.

Allen, 540 F.3d 821, 826 (8th Cir. 2008); Bolzer, 367 F.3d at 1038 (“the subject of the prior

inconsistent statement must be material”).

       Thus, the Eighth Circuit goes beyond Rule 613(b) to restrict a party’s ability to use

evidence of a prior inconsistent statement: “[O]ur case law adds a restriction not explicitly

included Rule 613 itself: Extrinsic evidence of a collateral matter is not admissible.” United

States v. Cowling, 648 F.3d 690, 697 (8th Cir. 2011) (quoting United States v. Carter, 410 F.3d

1017, 1022 (8th Cir. 2005)). “A matter is collateral ‘if the facts referred to in the statement could

not be shown in evidence for any purpose independent of the contradiction.’” United States v.

Bordeaux, 570 F.3d 1041, 1051-52 (8th Cir. 2009) (quoting United States v. Roulette, 75 F.3d

418, 423 (8th Cir. 1996)). Simply because the prior inconsistent statement reflects on the

witness’s credibility does not make it material and non-collateral. “Whether a matter is material



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or collateral depends on the subject of the testimony. Id. at 1051 (referring to the “precise

subject” of the prior inconsistent statement). Moreover, the evidence of a prior inconsistent

statement is still subject to the Rule 403 balancing test. See United States v. Demery, 674 F.3d

776, 780 (8th Cir. 2011).

        We respectfully request that, prior to engaging in any impeachment which might be of

questionable relevance, and prior to offering any extrinsic evidence whatsoever for impeachment

purposes, counsel for defendant be instructed to alert the Court in a bench conference so that

such a matter may be resolved outside the hearing of the jury.

            c. Impeachment by Prior Conviction

        With respect to any of the Government’s cooperating witnesses with criminal convictions,

the Government respectfully requests that the Court direct defense counsel to limit cross-

examination of these witnesses to the general nature of the charge, the range of punishment, the

sentence imposed, and the fact that the witness hopes to receive a lesser sentence by cooperating.

See United States v. Baldenegro-Valdez, 703 F.3d 1117, 1123 (8th Cir. 2013). Allowing cross-

examination beyond that will lead to “a mini-trial on irrelevant collateral matters.” Id. To inquire

further would be to relitigate the prior conviction which would be confusing, collateral and unfair.

See United States v. Street, 548 F.3d 618, 627 (8th Cir. 2008).

            d. Prior Consistent Statements

        Federal Rule of Evidence 801(d)(1)(B) provides that prior statements by a witness are not

hearsay if they meet certain requirements. The Eighth Circuit has held that a statement is

admissible under this Rule if: (1) the declarant testifies at trial and is subject to cross-

examination; and (2) the statement offered is consistent with the declarant's trial testimony, and

was made prior to the alleged fabrication, or prior to the motive or influence which is alleged to



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have improperly resulted in the “fabricated” testimony. United States v. Red Feather, 865 F.2d

169, 171 (8th Cir. 1989); United States v. Bowman, 798 F.2d 333, 337-339 (8th Cir. 1986).

       If a party contends at trial that a witness's testimony is the result of the witness's

discussions or negotiations with the authorities, evidence that the witness made similar

statements to others prior to contacts with the authorities logically rebuts the allegations of false

testimony, and specifically addresses the precise type of express or implied charge against the

declarant of recent fabrication or improper motive referred to by the rule. See United States v.

Barrett, 937 F.2d 1346 (8th Cir. 1991).

       The rule itself is not one providing “exceptions” to the general rule against hearsay; Rule

801(d) instead provides that such statements are not hearsay. Accordingly, such a statement can

be utilized as substantive evidence, and the jury may be so instructed. Tome v. United States,

513 U.S. 150 (1995); United States v. White, 11 F.3d 1446, 1450 (8th Cir. 1993).

           e. Summary Charts and Timelines

       The Eighth Circuit has explained that “[t]he admissibility of summary charts, graphs, and

exhibits ‘rests within the sound discretion of the trial judge, whose action in allowing their use

may not be disturbed by an appellate court except for an abuse of discretion.’” United States v.

Green, 428 F.3d 1131, 1134 (8th Cir. 2005) (quoting United States v. King, 616 F.2d 1034, 1041

(8th Cir. 1980)).

       Federal Rule of Evidence 1006 permits a party to use a summary or chart at trial if its

requirements are met. Summaries charts have been permitted in numerous cases. See, e.g., United

States v. Boesen, 541 F.3d at 848 (summary of clinic billings); United States v. Green, 428 F.3d at

1133 (summaries of records from SBC Communication and Dell Computers); United States v.

Wainright, 351 F.3d at 820 (summaries of logging activities and bank records); United States v.


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Possick, 849 F.2d at 339 (summaries of drug transactions and volume of phone calls, flow chart

of organization).

        In United States v. Green, the Eighth Circuit explained that Rule 1006 summary charts can

be treated as evidence and provided to the jury during deliberations. However, the court should

issue a limiting instruction. 428 F.3d at 1133; see also 8th Cir. Crim. Jury Instr. § 4.12.

        In addition, Federal Rule of Evidence 611(a) also supports the admission of summary

charts and timelines. Rule 611(a) provides that the court should exercise reasonable control over

the mode of presenting evidence so as to, among other things, make the procedures effective for

determining the truth, and avoid wasting time. The use of a pedagogic aid, such as a time line, can

further these goals. The Eighth Circuit has explained that “[v]isual aids that summarize other

evidence are generally permissible pedagogic devices, especially when used to organize complex

testimony or transactions for the jury.” United States v. Crockett, 49 F.3d 1357, 1360-61 (8th Cir.

1995). Aids such as time lines should be permitted as long as they are not “unfair and misleading”

but are “straightforward and accurate.” United States v. Possick, 849 F.2d at 339.

        At this point, the United States anticipates using three charts, which are attached, at trial to

aid the jury: 6

        A. Operation Diamond Posse Organizational Chart (Trial Exhibit 168)

        B. Operation Diamond Posse TIII Organizational Chart (Trial Exhibit 168)

        C. Weights and Measurements Chart (Trial Exhibit 180)

        The United States anticipates that Task Force Officer Mark Corbin, who will be at counsel

table throughout trial, will testify regarding these charts.




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            The United States reserves the right to edit these exhibits to conform to the evidence.

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       In addition, the United States reserves the right to offer additional summary charts and

timelines that will comply with the requirements of the Court and Federal Rules of Evidence.

       f. The Government Does Not Need to Prove an Overt Act

       Mr. Allen is charged with conspiring to distribute marijuana. The elements of this charge,

as set forth in the United States’ proposed jury instruction, are:

       One,    between or about February 1, 2010 and February 25, 2014, two or more people
               reached an agreement to distribute a mixture containing marijuana, a Schedule I
               controlled substance;

       Two,    the defendant voluntarily and intentionally joined in the agreement, either at the
               time it was first reached or at some later time while it was still in effect;

       Three, at the time the defendant joined in the agreement, the defendant knew the purpose
              of the agreement; and

       Four, the agreement involved 1000 kilograms or more of a mixture containing a detectable
              amount of marijuana.

       The Supreme Court has held that the Government does not have to prove that the

defendant committed an overt act in furtherance of the conspiracy. United States v. Shabani,

513 U.S 10, 15 (1994); Whitfield v. United States, 543 U.S. 209, 214 (2005). Based on the

Supreme Court’s decision in Shabani, the Eighth Circuit has held that “proof of an overt act is

not necessary to establish a violation of the drug conspiracy statute.” United States v. White, 408

F.3d 399, 401 (8th Cir. 2005)




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                                          CONCLUSION

       The Government will provide more information and address any additional issues

identified by the Court before or during trial.

                                                        Respectfully submitted,

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                                                        United States Attorney

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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing was filed on this 22nd day of
August 2019, by electronic notice on those parties having entered their appearance under the
Electronic Filing System (ECF).

                                                    /s/ Lucinda S. Woolery
                                                    Assistant United States Attorney




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